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 6   Attorney for Defendant
     HUANCHANG MA
 7

 8                   IN THE UNITED STATES DISTRICT COURT
 9
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,          ) Case No.: 2:11 CR 166 MCE
                                        )
12                   Plaintiff,         ) DEFENDANT'S MOTION TO MODIFY
                                        )
13
                                        ) TURN IN DATE AND PROPOSED ORDER
     vs.                                )
14
                                        )
     HUANCHANG MA                       )
15
                                        )
                                        )
                     Defendant.
16

17         Counsel for defendant Huanchang Ma, John R. Manning, Esq.,

18   hereby respectfully asks the court to modify and extend Mr. Ma's
19
     self-surrender date from July 2, 2015 to August 13, 2015.
20
           Mr. Ma was sentenced to 16 months custody in the Bureau of
21
     Prisons on May 7, 2015.      Mr. Ma was given a self-surrender,
22

23   “turn in” date of July 2, 2015.      For a variety of reasons, the

24   judgment and commitment was not filed in this matter until June
25
     19, 2015.
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           On June 24, 2015, counsel for Mr. Ma contacted the United
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     States Marshals Service to inquire if, because of the recent
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 1   filing of the judgment and commitment in this matter, there was
 2
     sufficient time between June 24, 2015 and July 2, 2015 to allow
 3
     Mr. Ma to receive his designation to a particular facility so as
 4
     to allow him to self-surrender.     Counsel for Mr. Ma was informed
 5

 6   it would be unlikely Mr. Ma would be designated to a facility by

 7   July 2, 2015.   Therefore, it is respectfully requested this
 8
     court modify Mr. Ma's turn in date from July 2, 2015, to August
 9
     13, 2015.
10
         Counsel for the government, Christiaan Highsmith, has been
11

12   notified of this request and has no objection.

13
     Dated: June 24, 2015                  /s/ John R. Manning
14
                                           John R. Manning
15                                         Attorney for
                                           Huanchang Ma
16
                                      ORDER
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18
         IT IS ORDERED.
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     Dated:   June 25, 2015
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